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                                                                                          EXHIBIT A

                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION

Carol A. Wilson, et al                                    )      Case No,: 2:16-cv-1084
                                                          )
            Plaintiffs,                                   )      Chief Judge Edmund A. Sargus
                                                          )
vs.                                                       )      Magistrate Judge Kimberly A. Jolson
                                                          )
Chagrin Valley Steel Erectors, Inc.,                      )
                                                          )
            Defendant/Third Paity Plaintiff,              )
                                                          )
vs.                                                       )
                                                          )
Justin M. Helmick,                                        )
                                                          )
            Third-Party Defendant.                        )




                PLAINTIFF CAROL WILSON’S AFFIDAVIT IN SUPPORT OF PLAINTIFFS’
                              MOTION FOR SUMMARY JUDGMENT

STATE OF OHIO                        )
                                     )SS:
COUNTY OF FRANKLIN                   )

                    I, Carol A. Wilson, being first duly cautioned and sworn, depose and state:
                    1,      That I am the Administrator for the Trustees of the Ohio Operating Engineers
Health and Welfare Plan, the Trustees for the Ohio Operating Engineers Pension Fund, the Trustees for
the Ohio Operating Engineers Education and Safety Fund, and the Trustees for the Ohio Operating
Engineers Apprenticeship and Training Fund (“Funds”). As Administrator, I have personal knowledge of
the following facts:
                    2.      That Defendant Chagrin Valley Steel Erectors, Inc. (“Defendant”), is a party to
collective bargaining agreements with the International Union of Operating Engineers, Local 18 (the
ii
     Union”), true and accurate copies of which are attached as Exhibit A to the Complaint, which obligate
Defendant to make contributions to Plaintiffs’ Funds on behalf of Defendant’s employees. The full text of
these collective bargaining agreements are attached hereto as Exhibit 1 and 2.
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                 3.      In the course of my duties as the Administrator for Plaintiffs, I determined that
Defendant failed to make contributions to the Funds as required by Defendant’s collective bargaining
agreements and the Trust Agreements covering the various Funds.
                4.       The rules and regulations adopted by the Trustees of the Funds specifically
provide that the Trustees shall be entitled to recover, in addition to the delinquent contributions, interest
on the delinquent contributions at the rate of 18 percent per annum calculated from the date of discovery
of the delinquencies (which is usually the date Defendant’s payroll records were audited); in addition, the
Trustees adopted rules and regulations providing that the Trustees shall be entitled to recover, in addition
to the delinquent contributions, statutoiy interest calculated at the rate of 18 percent per annum on the
amount of delinquent contributions.
                 5.      That the Trustees have established an interest rate of 18 percent per annum upon
unpaid audit findings.
                6.       That upon my examination of the Employer Monthly Reports, the Trustees’
Field Auditor’s audit report dated October 31, 2016 and the records submitted to me by Defendant and
upon my calculations relative to the hours worked for the period in question, I have determined that
Defendant failed to make timely contributions for all hours paid to its employees to the Funds for the
audit period August 1, 2015 to October 1, 2016, as Defendant was bound to do. As of this date,
Defendant owes the Funds $60,661.00 in delinquent contributions, along with accumulated interest
charges in the amount of $11,154.47, calculated to August 9, 2017, plus $13.83 per day thereafter, as
long as the judgment remains unpaid; plus additional interest in a like amount as provided for in 29
U.S.C. §1132(g). The Funds have requested an audit of Defendant’s records for the period of October 2,
2016 to the present.
                7.       That to the best of my knowledge and belief, the amounts set forth above truly
and accurately reflect the amounts due and owing to Plaintiffs’ Funds.
                8.       That Justin Helmick is an employee of the Funds, working as a field
representative. One of Mi'. Helmick’s duties as field representative is working with signatory contractors
to collective bargaining agreements with the Union to ensure they make all contractually required
contributions to the Funds. Mr. Helmick is routinely notified when an audit reveals that contributions are
owed by a contractor.
                9.       The “Local 18 Richfield Training Site” referred to in the electronic
communication from Funds employee Justin Helmick to Patrick Smith of Infinity Construction Co. is a
facility built by the Ohio Operating Engineers Apprenticeship and Training Fund to assist in training of
operating engineers.



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Further Affiant Sayeth Naught.                                      I

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                                                          Carol Wilson, Administrator


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                     Sworn to before me and subscribed in my presence this             day of August, 2017.

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                                                          Notary Public
                        SUSAN R. EBBELER
                       NOTARY PUBUC, STATE OF OHIO
                      MY COMWSSION EXPIRES 11-29-18




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